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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                        Eugene Division

 ELIZABETH HUNTER, et al.,

                              Plaintiffs,
               v.                                    Case No. 6:21-cv-00474-AA

 U.S. DEPARTMENT OF EDUCATION,
 et al.,                                             PROPOSED DEFENDANT-
                      Defendants,                    INTERVENOR COUNCIL FOR
                                                     CHRISTIAN COLLEGES &
               v.                                    UNIVERSITIES’S REPLY TO
                                                     DEFENDANTS’ AMENDED
 COUNCIL FOR CHRISTIAN COLLEGES &                    OPPOSITION TO MOTIONS TO
 UNIVERSITIES,                                       INTERVENE (ECF 37)

           Proposed Defendant-Intervenor.
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                                         INTRODUCTION

        In an extraordinary public change of legal position—in less than 24 hours after their initial

filing—the federal defendants have revealed ample reason to doubt their ability to consistently and

effectively represent the interests of the private religious colleges and universities whose basic

rights are at stake in this case. In their initial opposition, filed late in the evening on June 8, 2021,

the federal defendants repeatedly assured the world that they had the same “ultimate objective” as

the proposed intervenor, Council for Christian Colleges (CCCU), and its member schools—that

is, to vigorously “defend the [Title IX religious] statutory exemption and its current application[.]”

Defendants’ Opp. To Mots. to Intervene 7 (ECF 36) (1st Opp.) The defendants specifically rejected

the idea that they would not “defend the Religious Exemption as vigorously as Religious Schools,”

and claimed it was mere speculation to suggest they would “back away from a full defense of” the

exemption.” Id. at 8-9 (emphasis added).

        In less than 24 hours, however, the “speculation” that the federal defendants had just

dismissed became reality, as they filed an amended brief significantly more ambiguous in its

defense of the religious exemption. The reason for this new filing was evident to all: The

defendants’ robust assurances about defending the religious exemption were met by a wave of

media criticism.1 In apparent response, the federal defendants amended their opposition in a matter

of hours, removing the language that it shared CCCU’s “ultimate objective” of vigorously

defending the exemption. They also excised nearly every reference to their plan to defend the

challenged application of Title IX’s religious exemption, even though this case presents primarily



    1
      See, e.g., Michelle Boorstein, Justice Department says it can defend religious schools’
exemption from anti-LGBTQ discrimination laws, The Washington Post (June 9, 2021),
https://tinyurl.com/WPREAPArticle; INSIGHT Staff, Justice Department to Defend Anti-LGBTQ
Policy at Religious Schools (June 9, 2021), https://tinyurl.com/InsightREAPArticle.

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an as-applied challenge. Gone, too, was the assurance that the defendants would provide a

“vigorous” defense of the religious exemption.

       In sum, the federal defendants’ actions before this Court reaffirm the powerful need for

CCCU to assist and support the government in presenting a full and vigorous defense of the Title

IX exemption and its member schools’ rights in this case. Both the current Administration’s public

statements on the topic of LGBTQ+ rights in relation to religious institutions generally, and its

recent position reversal raise meaningful questions as to whether it will “undoubtably” make all of

CCCU’s arguments or even that in the future it will continue to be “capable and willing” to do so.

Nw. Forest Res. Council v. Glickman, 82 F.3d 825, 838 (9th Cir. 1996), as amended on denial of

reh’g (May 30, 1996)..

       Equally compelling as to whether the CCCU should be allowed to intervene is that the

defendants concede that CCCU has satisfied every requirement for permissive intervention.

Defendants’ Am. Opp. To Mots. to Intervene 5, 10 (ECF 37) (“Am. Opp.”) Indeed, plaintiffs have

failed to respond to CCCU’s motion, thereby also conceding that intervention is proper. See

Johnny T. v. Berryhill, 2019 WL 2866841, at *2 (D. Or. July 2, 2019) (Aiken, J.) (collecting cases).

Accordingly, the Court can simply grant permissive intervention—which is uncontested here—

thereby avoiding the need to resolve the dispute between CCCU and the federal defendants over

mandatory intervention.

                                          ARGUMENT

I.     CCCU should be allowed to intervene permissively.

       As noted, the federal defendants concede that CCCU meets every requirement for

permissive intervention. See Am. Opp. 10. Despite this, they argue that the Court should deny the




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motion because “participation of additional parties in the case will produce few benefits” and

“could well have adverse effects.” Ibid. They err on both points.

       Contrary to the federal defendants’ first assertion, CCCU’s participation will provide

significant, substantive benefits to the Court. For well over 100 years, the Supreme Court has

recognized that governmental bodies (including federal courts) are inherently ill-suited to

understand ecclesiastical questions. See Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S.

Ct. 2049, 2059–61 (2020) (summarizing the history of the religious-autonomy doctrine). As the

motion urges (at 22), religious doctrines, like the doctrines animating the decisions of the religious

schools mentioned in the complaint, are sometimes incomprehensible to those with different

beliefs. Thomas v. Rev. Bd. of Indiana Emp’t Sec. Div., 450 U.S. 707, 714 (1981).

       Executive officers such as the federal defendants are not unique among civil servants in

their ability to understand the importance of religious doctrines, including the right to set “religious

conduct standards within its community and discipline violators.” Paul v. Watchtower Bible &

Tract Soc. of New York, Inc., 819 F.2d 875, 883 (9th Cir. 1987). To the contrary, the same difficulty

that courts have in understanding religious beliefs limits the other branches.

        For this reason, the federal defendants’ attempts to escape CCCU’s showing that they are

ill-equipped to defend the religious exemption fail. Yes, the federal defendants argue (at 8) that

they can defend Congress’s intent, but CCCU never challenged that point. And in any event,

Congresses’ intent would only apply to the defense against a facial challenge to the statute, whereas

plaintiffs’ case is a mixture of facial and as-applied challenges. As an organization of religious

communities, CCCU can provide the insight necessary to fully explain the importance of the Title

IX religious exemption, both in general and as applied to its members, in ways that the government

simply cannot.



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       CCCU is also better equipped to respond to the factual assertions included in Plaintiffs’

claims. As mentioned in its motion, eighteen of CCCU’s member schools were mentioned by name

in the Complaint. See Compl. ¶¶ 9–43 (ECF 1). The amended complaint mentions three additional

CCCU member schools. See Am. Compl. ¶¶ 46–47, 50 (ECF 35). The federal defendants are silent

about how, if at all, they expect to defend an as-applied challenge against claims that these schools

discriminated against their students. Here again, CCCU’s presence will help provide the context

necessary to respond to these allegations, including the fact that the allegedly discriminatory

actions represent the applications of the member colleges’ sincerely held religious beliefs.

       The federal defendants’ argument (at 10) that allowing CCCU to intervene may have

adverse effects fares no better. To begin, it relies on nothing but rank speculation that CCCU’s

presence could “complicate resolution” of this case. But what the federal defendants decry (at 10)

as the “adverse effects” of CCCU’s participation are nothing more than the benefits of our

adversarial system. It is no vice that a complicated case, which could strip millions of students at

religious colleges of all federal funding—and severely impact the religious colleges themselves—

might have a “complicate[d] resolution.” Ibid. The resolution will be complicated with or without

CCCU’s presence, and CCCU can help the Court sort through the complications.

       Moreover, the federal governments’ own authorities undermine their argument that

CCCU’s motion should be denied because its presence could “mak[e] settlement more

complicated.” Id. They argue, for example, that intervention is inappropriate when the government

will make the same arguments. Id. (citing United States ex rel. Richards v. De Leon Guerrero, 4

F.3d 749, 756 (9th Cir.1993)). Yet because the sweeping relief the plaintiffs seek would cripple

religious higher education, any attempt to settle this case short of outright dismissal would be

woefully inadequate. And preventing the Plaintiffs and the federal defendants from employing a



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cynical “sue and settle” strategy as a means of abolishing the Title IX religious exemption is one

of the most important reasons to allow CCCU’s participation.

       In sum, because CCCU’s presence would provide the Court needed context that secular

bodies are frequently unable to understand, because it will also help the Court thwart the Plaintiffs’

apparent (and improper) “sue-and-settle” strategy as a way of abolishing the Title IX exemption,

and because the only harm the federal defendants allege is the existence of adversity, this Court

should grant CCCU’s motion to intervene permissibly under Rule 24(b).

II.    Alternatively, CCCU is entitled to intervene.

       Alternatively—if the Court needs to reach the question—CCCU is also entitled to intervene

because (1) it is undisputed that it satisfies the first three requirements for mandatory intervention,

see Am. Op. 2, and (2) CCCU has readily demonstrated—assisted by the federal defendants

themselves—that they cannot be trusted to adequately defend the interests of CCCU’s members.

       The federal defendants flatly ignore the Ninth Circuit’s repeated instruction that Rule 24(a)

should be interpreted to favor intervention. Smith v. Los Angeles Unified Sch. Dist., 830 F.3d 843,

854 (9th Cir. 2016). They similarly ignore the many cases saying that the burden of showing

inadequacy is “minimal,” and the applicant need only show that “representation of its interests by

existing parties ‘may be’ inadequate.” Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 823

(9th Cir. 2001) (citing Trbovich v. United Mine Workers, 404 U.S. 528, 538 n. 10 (1972)); Nw.

Forest Res. Council, 82 F.3d at 838.

       Instead, federal defendants rest their entire argument on the presumption that the

Department of Justice will adequately defend the constitutionality of the religious exemption.

Freedom from Religion Found., Inc. v. Geithner, 644 F.3d 836, 841 (9th Cir. 2011). CCCU, they

argue, must make a “compelling showing” that they will fail to advance its interests to rebut that



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general presumption. Am. Opp. 6. But as the Geithner case acknowledges, the presumption of

adequacy only applies ““[w]here the party and the proposed intervenor share the same ‘ultimate

objective[.]’” Geithner, 644 F.3d at 841 (quoting Perry, 587 F.3d at 951). In their Amended

Opposition, the federal defendants no longer even directly claim that is true. See, supra 7-8.

       Geithner involved a solely facial challenge to the statute involving the parsonage

exemption for ministers, and the government had shown itself willing to defend the statute

vigorously. In this case, however, there are both facial and as-applied challenges to the Title IX

religious exemption. In its most recent filing, the federal defendants have moved decisively away

from language that committed itself to defending the statute as applied; it has even temporized its

claims about whether it will continue to defend the statute as a facial matter, at least as it applies

to issues of LGBTQ+ rights. See supra, 7.

       To undermine CCCU’s showing on these points, the federal defendants ask this Court to

ignore “a variety of statements and actions taken by the current Administration regarding

protecting LGBTQ+ individuals from discrimination” because none of those statements was

directly addressing Title IX’s religious exemption. Am. Opp. 8. But it is not plausible that Title

IX’s religious exemption is the exception to an Administration-wide attempt to read protections

on the basis of sexual orientation and gender identity into every relevant provision of federal law.2

Nor is it plausible that the current Administration, which promises to roll back religious


   2
      CCCU, frankly, was selective in its motion. The Administration’s comments on this topic are
legion. See also, e.g., Federal Register Notice of Interpretation: Enforcement of Title IX of the
Education Amendments of 1972 with Respect to Discrimination Based on Sexual Orientation and
Gender Identity in Light of Bostock v. Clayton County 11 (June 16, 2021) (This document does
acknowledge the existence of the Title IX religious college exemption, but relegates it to a brief
mention in footnote 2, which is suggestive of the lack of weight the Administration may give it in
its larger program.), https://tinyurl.com/TitleIXInterpretation; The White House, Executive Order
on Preventing and Combating Discrimination on the Basis of Gender Identity or Sexual
Orientation (Jan. 20, 2021), https://tinyurl.com/Jan20EO.

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exemptions that conflict with what it considers LGBT rights, will turn a blind eye to Title IX’s

exemption or provide the full-throated defense of religious higher education necessary to defend

the exemption in all of its applications. Indeed, what the federal defendants initially called a “leap,”

1st Opp. 8, instead follows directly from the available evidence—including the federal defendants’

own change of position in response to criticism from the LGBTQ community.3

         Nor is the motion as premature as the federal defendants claim. Whatever the result of the

Department of Education’s ongoing “comprehensive review of its regulations implementing Title

IX,” Am. Opp. 7, there can be no doubt that it will advance this position, as one of the federal

defendants has already said that the goal of the review is to implement such protections within the

Title IX framework, as directed by the President. Suzanne B. Goldberg, Title IX and our nation’s

promise to students of all ages (Mar. 8, 2021) (“[W]e welcome our responsibility to help carry out

the President’s Executive Order on Guaranteeing an Educational Environment Free from

Discrimination on the Basis of Sex, Including Sexual Orientation or Gender Identity.”). Indeed,

the Department has recently issued interpretive guidance concluding that Title IX’s protections

extend to sexual orientation and gender identity.4 This obviously makes Title IX’s religious

exemption even more crucial to CCCU and its members.

         The changes made in the Amended Opposition further undermine the presumption that

would otherwise favor the government. The initial opposition promised that the federal

government had the same ultimate objectives as CCCU multiple times. 1st Opp. 7 (“[T]he Federal

Defendants and the Proposed Intervenors ‘share the same ‘ultimate objective,” and “the Federal

Defendants’ ultimate objective is to defend the statutory exemption and its current application by


   3
    The federal defendants apparently no longer consider this a leap, as that language was
removed in the amended opposition.
   4
       See Supra, note 2.
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ED, which is the objective sought by the Proposed Intervenors here.”) That language was

immediately and widely criticized.5 As discussed above, rather than stay the course, the federal

defendants amended their opposition the following day, no longer claiming that it shared CCCU’s

ultimate objectives.6 They also removed nearly every reference to the defendants’ stated plan to

defend the challenged application of Title IX’s religious exemption, instead stating that they will

defend the exemption generally, even though this case presents primarily an as-applied challenge.

       In sum, nothing said or done by the Administration before this case creates an assurance

that it will “undoubtably” make all of CCCU’s arguments or even that it will continue to be

“capable and willing” to do so. Nw. Forest Res. Council, 82 F.3d at 838. Its most recent actions in

filing an amended opposition only confirm what CCCU alleged in its motion. There is no benefit,

and much potential harm to CCCU and its member schools, to waiting for further actions from the

Department before deciding to allow CCCU to intervene. Because there is a substantial reason to




   5
     Michelle Boorstein, Justice Department says it can defend religious schools’ exemption from
anti-LGBTQ        discrimination   laws,    The       Washington     Post   (June    9,   2021),
https://tinyurl.com/WPREAPArticle; INSIGHT Staff, Justice Department to Defend Anti-LGBTQ
Policy at Religious Schools (June 9, 2021), https://tinyurl.com/InsightREAPArticle.
   6
      The federal defendants’ malleability in the face of criticism was not lost on the public either.
Jo Yurcaba, Biden DOJ updates court filing after LGBTQ backlash in religious discrimination
lawsuit, NBC News (June 10, 2021), https://tinyurl.com/BidenAmOpArticle (“[A]fter
the backlash from LGBTQ advocates, the administration amended its filing Wednesday. It
removed the word ‘vigorously’ to describe its defense of the schools and the religious exemption,
and removed four uses of the phrase ‘ultimate objective.’”); Jessica Schneider, Biden DOJ updates
court filing after LGBTQ advocates blast its stance in religious schools case, CNN (June 10,
2021), https://tinyurl.com/CNNAmOpArticle (explaining how, “after a backlash from critics and
a statement from plaintiffs in the case saying they felt ‘betrayed,’” the federal defendants amended
their filing).




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believe that the federal defendants will not fully defend the Title IX religious exemption, CCCU

should be allowed to intervene immediately.

                                        CONCLUSION

       The Court can easily grant CCCU’s motion to intervene based solely on the federal

defendants’ recognition that CCCU satisfies each factor for permissive intervention. Alternatively,

intervention is required because the current Administration has shown, at a minimum, that there is

a substantial risk it will not adequately defend the interests of CCCU and the hundreds of colleges

it represents. The motion to intervene should be granted.

       Respectfully submitted this 23rd day of June, 2021.

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                                CERTIFICATE OF SERVICE


       I hereby certify that I served the foregoing Corporate Disclosure Statement on the

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______         MAILING certified full, true, and correct copies thereof in a sealed, first class
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               below.

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               thereof in a sealed, prepaid envelope, addressed to the attorney(s) shown above at
               their last known office address(es), on the date set forth below.

DATED this 23rd day of June 2021.

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